       Case 1:25-cv-00381-ABJ        Document 57-1         Filed 03/04/25         Page 1 of 2



INDEX OF EMAILS, TEXT MESSAGES, AND OTHER COMMUNICATIONS (MARCH 4, 2025)

Exhibit   Date                                     Description
  A       2/11   Email to contracting officers with subject line “Urgent Action: Contract
                 Termination and Continuation Notifications (Emails)”
  B       2/11   “Urgent update” to contracting officers with “direction to terminate all
                 Enforcement, … Supervision, … External Affairs, … Consumer Response,
                 … [and] Office of Director” contracts
  C       2/11   Adam Martinez memorandum terminating probationary employees
  D       2/11   Notice to NCLC regarding CFPB’s “blanket Stop Work Order”
  E       2/11   Email from Adam Martinez regarding civil penalty fund and returning
                 CFPB’s money to Federal Reserve
  F       2/11   Email from Consumer Response identifying contracts that directly support
                 its statutory requirements
  G       2/12   Termination of NCLC contract
  H       2/13   Adam Martinez memorandum terminating the Student Loan Ombudsman
   I      2/13   Memo from Matthew Pfaff regarding staffing at Consumer Response
  J       2/14   Email instructing all staff to “exercise administrative leave”
  K       2/17   Email regarding closure of regional offices
  L       2/18   Email from Christopher Chilbert (CFPB Chief Information Officer)
                 declining request to fix the CFPB’s homepage
  M       2/26   Email regarding discontinuation of “Citrix Virtual Desktop”
  N       2/27   Auto-response from HR regarding “recent or impending separation”
  O       2/27   Email directing employees to retrieve personal belongings from CFPB
                 building and return CFPB equipment
  P       2/27   Email from Adam Martinez regarding “Statutory/Legal Required Work”
  Q       2/28   Email from Assistant Director of Research regarding resumption of
                 “statutory work”
  R       2/28   Emails with Francis Doe regarding statutorily mandated reports
  S       2/28   Text message telling Francis Doe to “stand down until further notice”
  T       3/1    Email to Office of Finance and Procurement inquiring about statutory
                 requirements
  U       3/3    Email to supervision examiners asking them to “refrain from all work
                 activity other than ministerial tasks” pending further guidance
  V       3/3    Email instructing supervision staff to “continue to comply with the stop work
                 order”
  W       3/3    Email notifying supervision staff that Martinez and Paoletta’s 3/2 email do
                 not authorize them to carry out activities “required by law”
  X       3/3    Email from CFPB’s CFO discussing “very narrow approach” to “turning
                 back on … contract[s]”
     Case 1:25-cv-00381-ABJ      Document 57-1       Filed 03/04/25     Page 2 of 2




Y       3/3   Status update on Research, Monitoring, and Regulations’ ability to “comply
              with the directive to resume statutory responsibilities”
Z       3/3   Email about “getting the [Consumer Complaint Database] back up and
              running”
AA      3/3   Email to operations about “statutory requirements”
BB      3/3   Email providing probationary employee with Notification of Termination
              (approved on 2/13) pursuant to “E.O. 14210 and the stop work email from
              Russ Vought”
CC      3/3   Email providing term employee with notification of Termination (approved
              on 2/15) pursuant to “E.O. 14210 and the stop work email from Russ
              Vought”
DD      3/4   Email from Christopher Chilbert declining request to fix the homepage
EE      3/4   Email from CFO in response to request to pay for Google Analytics
              platform, without which CFPB “will lose all historical data”
FF      3/4   Email chain between Mark Paoletta and Cassandra Huggins about status of
              Supervision
GG      3/4   Screen shot of “CFPB Tip Line” taken from X on March 4 at 11:05 PM
HH      3/4   White House statement says that “President Trump ordered the” CFPB “to
              halt operations”
